Case 6:18-cv-00026-ACC-DCI Document 17 Filed 02/27/18 Page 1 of 2 PageID 107



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

EMPIRE CORVETTE OF AMERICA, INC.,                   CASE NUMBER: 6:18-cv-26-ORL
a New York Corporation,
            Plaintiff,

vs.

JUST TOYS CLASSIC CARS, LLC,
a Florida Limited Liability Company,
        Defendants.
________________________________________/

                    CERTIFICATE OF INTERESTED PERSONS AND
                      CORPORATE DISCLOSURE STATEMENT

       I hereby disclose the following pursuant to this Court’s interested persons order:

1.)     The name of each person, attorney, association of persons, firm, law firm, partnership,
and corporation that has or may have an interest in the outcome of this action — including
subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that own
10% or more of a party’s stock, all other identifiable legal entities related to any party in the
case, and all members of any LLC including their citizenship:

       Lee N. Bernbaum, Esquire
       David S. Cohen, Esquire
       Empire Corvette of America, Inc.
       Just Toys Classic Cars, LLC
       Michael M. Kest, Esquire
       Brett Mulzer
       Ryan David Payne
       J.R. Smith
       Michael Smith

2.)    The name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:

       N/A

3.)    The name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty largest
unsecured creditors) in bankruptcy cases:

       N/A
Case 6:18-cv-00026-ACC-DCI Document 17 Filed 02/27/18 Page 2 of 2 PageID 108




4.)    The name of each victim (individual or corporate) of civil and criminal conduct alleged to
be wrongful, including every person who may be entitled to restitution:

       Empire Corvette of America, Inc.
       Ryan David Payne

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and
will immediately notify the Court in writing on learning of any such conflict.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of February, 2018, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system on DAVID S. COHEN, ESQUIRE,
Primary E-Mail: david@dscohenlaw.com and Secondary E-Mail: admin@dscohenlaw.com.


                                                      ______________________________
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